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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DWISION

MELODY JOY CANTU AND DR. RODRIGO
CANTU

DR SANDRAGUERRAandDIGITAL
FORENSICS CORPORATION
                                                     8A20CA0746                                  JKP
                                             ORDER
       BE if REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro flac Vice filed by Tor Ekeland                                          counsel for

Melody Joy Cantu & Dr. Rodrigo Cantu                 and the Court, having reviewed the motion, enters

the following order:

       if IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and
Tor Ekeland                              ay appear     behalf of Melody Joy Cantu & Dr. Rodrigo

in the above case.

       IT IS FURTHER ORDERED that Tor Ekeland                                               if he/she
has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.

District Court in compliance with Local Court Rule AT-l(f)(2).

       SIGNED this the    22nd       day of_June                                 20_20




                                                     Please Choose Judge
